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     Telephone: 559-431-9710
 4   Attorney for Defendant, FRANCES REYNA GALVAN
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 7
                                  UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                         No. 1:16-cr-000122 DAD BAM
11
                                Plaintiff,             FIRST AMENDED STIPULATION TO
12                                                     MODIFY CONDITIONS OF RELEASE
            v.                                         AND ORDER THEREON
13
     FRANCES REYNA GALVAN,
14
                               Defendant.
15

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17

18                                             STIPULATION

19          It is hereby stipulated by and between the parties hereto that additional conditions of

20   release item (7)(h) of the Order of Release dated October 27, 2016, Doc. 102, be modified from

21   home detention to curfew, with all other conditions not in conflict to remain in full force and

22   effect. Pretrial Services does not object to the proposed Stipulation.

23          The parties stipulate and agree that the Addition of Conditions of Release item (7) (h) of

24   the October 26, 2016, Order be modified to read as follows:

25          (h) You must participate in the following location monitoring program component and

26   abide by all the requirements of the program, which will include having a location monitoring

27   unit installed in your residence and a radio frequency transmitter device attached to your person.

28   You must comply with all instructions for the use and operation of said devices as given to you
                                                      1
     Case 1:16-cr-00122-DAD-BAM Document 119 Filed 02/24/17 Page 2 of 3


 1   by the Pretrial Services Agency and employees of the monitoring company. You must pay all or

 2   part of the costs of the program based upon your ability to pay, as determined by the pretrial

 3   services officer; CURFEW: You must remain inside your residence every day from 9:00 p.m. to

 4   6:00 a.m. or as adjusted by the pretrial services officer for medical, religious services,

 5   employment or court ordered obligations.

 6          ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO

 7   REMAIN IN FULL FORCE AND EFFECT.

 8          Good cause exists for this modification because the defendant has been on conditions of

 9   release since October 2016, during which time her supervising pretrial service officer has

10   described her performance as stable, cooperative, participating in treatment and testing clean; all

11   parties and her pretrial supervisor is not opposed to this modification.

12          IT IS SO STIPULATED.

13   Dated: February 16, 2017                       FLETCHER & FOGDERUDE, INC

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15                                                  /s/ Eric K Fogderude

16                                                 ERIC K FOGDERUDE, Attorney for Defendant

17                                                 FRANCES REYNA GALVAN

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20   Dated: February 16, 2017                       UNITED STATES ATTORNEY
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22                                                  /s/ Melanie Alsworth

23                                                  MELANIE ALSWORTH, Assistant US Attorney

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     Case 1:16-cr-00122-DAD-BAM Document 119 Filed 02/24/17 Page 3 of 3


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 2                                                  ORDER

 3            IT IS SO ORDERED that the release Order dated October 27, 2016 be modified as to

 4   Additional Conditions of Release item (7)(h) to read as follows:

 5                   (h) You must participate in the following location monitoring program component

 6   and abide by all the requirements of the program, which will include having a location monitoring

 7   unit installed in your residence and a radio frequency transmitter device attached to your person.

 8   You must comply with all instructions for the use and operation of said devices as given to you

 9   by the Pretrial Services Agency and employees of the monitoring company. You must pay all or

10   part of the costs of the program based upon your ability to pay, as determined by the pretrial

11   services officer; CURFEW: You must remain inside your residence every day from 9:00 p.m. to

12   6:00 a.m. or as adjusted by the pretrial services officer for medical, religious services,

13   employment or court ordered obligations.

14            ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO

15   REMAIN IN FULL FORCE AND EFFECT.

16
     IT IS SO ORDERED.
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18   Dated:     February 24, 2017
                                                           UNITED STATES MAGISTRATE JUDGE
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